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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                      )
                                               )
               Plaintiff,                      )
                                               )       Case No. 19-CR-077-JB
                                               )
MICHAEL NISSEN,                                )
                                               )
               Defendant.                      )

           UNITED STATES= RESPONSE TO NUMEROUS PRO SE MOTIONS

       The United States is in receipt of many pro se motions, on which the Court has recently

set a hearing. Docs. 98, 106, 109, 110, 111, 112, and 113. The Court should deny these

various pro se motions because defendant Michael Nissen (“Defendant”) is represented by

counsel, and because they are meritless. The United States will set forth the procedural basis for

denying the motions first, and then will do its best to explain their lack of merit.

       First, the Court should deny Defendant’s pro se motions because he is represented by

counsel, and it is counsel’s duty to review Defendant’s requests and decide which of them is

sufficiently meritorious to bring to the Court’s attention. See United States v. Hill, 526 F.2d

1019, 1025 (10th Cir. 1975) (finding no constitutional or statutory right to hybrid representation).

Defendant has had counsel representing him at each critical stage of this prosecution, and has not

asked to proceed pro se, or been advised of how he might do so. Although he does have the

right to file motions on his own behalf, or even represent himself, he must make a clear and

unequivocal decision to do so. See Faretta v. California, 422 U.S. 806, 835 (1957); United

States v. Mackovich, 209 F.3d 1227, 1236 (10th Cir. 2000). And, even when a defendant

presents his own defense, he “must also comply with relevant rules of procedural and substantive

law.” Faretta, 422 U.S. at 834 n. 46.
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       Second, as far as the United States can tell, the outstanding pro se motions are meritless.

The United States has already responded to the pro se motion for grand jury materials. Doc. 99.

The remainder of the outstanding motions appear to be a “hodgepodge of unsupported assertions,

irrelevant platitudes, and legalistic gibberish.” See Crain v. C.I.R., 737 F.2d 1417, 1418 (5th

Cir. 1984) (per curiam). Defendant should also be cautioned that his behavior makes him

potentially liable for an upward sentencing departure under U.S.S.G. § 5K2.0 for obstruction of

justice, or a variance for the same reasons. See United States v. Jagim, 978 F.2d 1032, 1039

(8th Cir. 1992) (affirming upward departure based, in part, on defendant “flooding the court with

frivolous motions including some challenging the court’s Article III status”); United States v.

Taylor, 509 F. App’x 205, 211-12 (4th Cir. 2013) (unpublished) (obstruction enhancement

appropriate where defendant repeatedly filed frivolous motions and lawsuits); United States v.

Goldberg, 937 F. Supp. 1121, 1133-34 (M.D. Pa. 1996) (applying obstruction enhancement and

upward departure in part because of frivolous motions).

       The pro se motion at Doc. 106, titled “motion for leave to amend by addendum,” appears

to be a request to amend prior motions to dismiss to incorporate a reference to 4 U.S.C. §§ 116-

126. As 4 U.S.C. § 116(a) states, §§ 116-126 “apply to any tax, charge, or fee levied by a taxing

jurisdiction as a fixed charge for each customer….” Those statutes therefore have nothing to do

with the criminal penalties imposed for violating 18 U.S.C. § 875(c), which are not taxes,

charges, or fees levied for telephone service.

       The pro se motion at Doc. 109, entitled “Motion to Dismiss Information on Two Counts

of Conviction for Lack of Jurisdiction,” is timely, because the Court’s jurisdiction may be

challenged at any time. But this Court has already ruled on a motion to dismiss for lack of

jurisdiction, at Doc. 101. Defendant has not correctly requested reconsideration of that order,
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nor has he pointed out any mistake of law, change in circumstances, or manifest injustice that

would result from the Court’s choice not to reconsider the opinion and order at Doc. 101.

        In case the Court considers the venue challenge to be a new one, the evidence at trial

conclusively established that the phone calls in question were both made and received in the

District of New Mexico, making venue proper here. To the extent the Court considers the

double jeopardy claim to be a new one, the two counts charged in this case were charged to have

occurred on two separate dates, and the trial evidence conclusively established the two separate

phone calls, weeks apart – so, Defendant was never twice placed in jeopardy for the same

conduct. The United States agrees Defendant was never brought before the grand jury in this

case, but neither does he have a right to address them in the federal system, nor does he claim

any such right or any remedy for not having an opportunity to address the grand jury. See

D.N.M.LR-Cr. 47.7 (setting forth the local rule governing citation of authority). Defendant’s

challenges to the validity of the statute of conviction, and the absurd claim that the statute was

applied extraterritorially (to conduct that happened within the District of New Mexico) have

merely been listed, not argued or analyzed, and so they are forfeited. See United States v.

Antonio Carrillo, 19-CR-1991-KWR, Doc. 56, p. 6 (Riggs, J); citing United States v. Elliott, 684

F. App’x 685, 687 (10th Cir. 2017) (unpublished) (“Forfeiture occurs when the [movant] fails to

timely and adequately present the argument in district court.”); see also United States v. Brune,

767 F.3d 1009, 1019 (10th Cir. 2014) (facial challenges disfavored and should be used sparingly

or as a last resort).

           The pro se motion at Doc. 110, entitled “motion for judgment of acquittal after guilty

verdict or, in the alternative, for a new trial,” was untimely filed on January 24, 2020, after the

conviction in August of 2019. See Fed. R. Crim. P. 29(c) and 33(b). And, Defendant has not
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even attempted to show good cause for the lateness of his filing. Doc. 110. But, even if the

Court should choose to exercise its authority under Fed. R. Crim. P. 45(b) to review the merits of

the motion, it will find that none exist. Defendant’s complains, largely about the Court’s other

memorandum opinions and orders, are properly raised on appeal. The evidence presented at

trial conclusively showed that Defendant threatened to kill other people, that he did so in phone

calls that went to Plano, Texas before being delivered in the District of New Mexico, and that he

made those threats wanting to be taken seriously (which is to say, they were true threats). No

more is required to sustain convictions under 18 U.S.C. § 875(c). As for numbered paragraph 8,

the United States and the undersigned Assistant United States Attorneys do not even know what

government conduct Defendant is complaining about. As in other motions, Defendant merely

lists numerous grounds for his complaints without citing any authority or performing any legal

analysis. For those reasons, the Court should consider all listed arguments forfeited. See

Carrillo, supra.

       Defendant’s pro se motion at Doc. 111, entitled “Motion for Acquittal or to Dismiss

Information of Two Counts for Prosecutorial Misconduct,” doesn’t actually allege any

misconduct by the undersigned. Instead, it is, even more than the rest of these pro se motions, a

“hodgepodge of unsupported assertions, irrelevant platitudes, and legalistic gibberish.” See

Crain v. C.I.R., 737 F.2d 1417, 1418 (5th Cir. 1984) (per curiam). There is an ex post facto

challenge, but Defendant does not even allege that 18 U.S.C. § 875(c) became law after his

conduct at issue here in 2018. The claims of selective prosecution, improper presentation to the

grand jury, and irrelevance of the call log are so cursory as to be forfeited. See Carrillo, supra.

       Defendant’s pro se motion at Doc. 112, entitled “Notice of Motion for Acquittal,

Overturn Guilty Verdict, Or, Dismiss Information of Conviction of Counts I and II,” defendant
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invokes the Religious Freedom Restoration Act, without describing how his conduct was, in any

way, based on religious beliefs. His failure to plead any religious motive for his offense

conduct is fatal to any Religious Freedom Restoration Act claim.

       Defendant’s most recent pro se motion filing, at the time of this response, at Doc. 113, is

entitled “Motion to Dismiss Information of Illegal Convictions on Counts I and II for Federal

Abuse of Arbitrary Power and Judicial Misconduct.” Contrary to its title, though, the motion

does not allege any actual misconduct by the Court – just judicial decisions with which

Defendant disagrees. The Defendant also re-asserts in Doc. 113 statutes previously invoked,

including those from Title 4 of the United States Code, the Religious Freedom Restoration Act,

and states some general principles from the Constitution. Defendant also complains about the

temporary seizure of his shotgun by Officer Burd during the traffic stop on November 2, 2018, as

Officer Burd testified about at trial. Id. at 10. He complains, without any detail or specific

allegations, that prior attorneys were ineffective in their assistance to him. Id.

       Defendant claims, without analysis, that he is a “non citizen national sovereign of a free

and independent state.” Id. at 11. But he was born in New Mexico in 1955, and New Mexico

has been a member of the United States since January 6 of 1912, so it is not clear what good faith

basis he has to believe he is not an American citizen.

       Defendant claims, not for the first time, that his threats to kill pigs “referenced to a pig of

the four legged hoofed family.” Id. at 12-13. The Court already analyzed this potential

inference in its order denying a previous motion to dismiss, Doc. 101. Defendant has not met

the reconsideration standard with the inclusion of this argument in Doc. 113.

       Defendant’s motion goes on to complain that this Court has violated the Monroe

Doctrine. Doc. 113, p. 13. But the Monroe Doctrine, as described by President Monroe in an
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annual message delivered to Congress in 1823, discouraged European interference in the

Western Hemisphere. It had nothing to do with the power or jurisdiction of the federal courts

within the United States.

        Defendant next complains about being shackled under the defense table at trial. Id. But

the Court ordered that limited restraint after thorough briefing and analysis, and there is no

reason to believe any juror ever noticed it. Defendant complains he was not produced at an

evidentiary hearing. Id. But there was no such hearing in this case for which he was absent –

Defendant was present at all critical stages of this litigation.

        As far as the United States can tell, those are the substantive arguments and complaints

advanced by Defendant. The United States will be available at the motions hearing set for

March 23, 2020, in case the Court has any further specific questions or would like any further

briefing. The filing of this motion response in CM/ECF will cause a copy to be served on Joe

Romero, Esq., who appears to be completely blameless in the filing of these numerous and

frivolous pro se motions.

                                                        Respectfully submitted,

                                                        JOHN C. ANDERSON
                                                        United States Attorney

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